     Case 2:20-cr-00327-DSF Document 49 Filed 07/06/22 Page 1 of 2 Page ID #:269



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 4                          UNITED STATES DISTRICT COURT

 5                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

 6   UNITED STATES OF AMERICA,               No. CR 20-327-DSF

 7             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
 8                   v.                      PURSUANT TO SPEEDY TRIAL ACT

 9   BRENDAN ROSS,                           NEW TRIAL DATE: 10-11-2022
                                             STATUS CONFERENCE: 09-26-2022
10             Defendant.

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12
          The Court has read and considered the Stipulation Regarding
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     Request for (1) Continuance of Trial Date and (2) Findings of
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     Excludable Time Pursuant to the Speedy Trial Act, filed by the
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     parties in this matter on July 6, 2022.        The Court hereby finds that
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     the Stipulation, which this Court incorporates by reference into this
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     Order, demonstrates facts that support a continuance of the trial
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     date in this matter, and provides good cause for a finding of
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     excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
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          The Court further finds that: (i) the ends of justice served by
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     the continuance outweigh the best interest of the public and
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     defendant in a speedy trial; (ii) failure to grant the continuance
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     would be likely to make a continuation of the proceeding impossible,
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     or result in a miscarriage of justice; and (iii) failure to grant the
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     continuance would unreasonably deny defendant continuity of counsel
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     and would deny defense counsel the reasonable time necessary for
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     effective preparation, taking into account the exercise of due
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     Case 2:20-cr-00327-DSF Document 49 Filed 07/06/22 Page 2 of 2 Page ID #:270



 1   diligence. These findings are based on the facts set forth in the

 2   parties’ Stipulation.

 3         THEREFORE, FOR GOOD CAUSE SHOWN:

 4         1.    The trial in this matter is continued from July 26, 2022 to

 5   October 11, 2022.      The status conference hearing is continued to

 6   September 26, 2022.

 7         2.    The time period of July 26, 2022 to October 11, 2022,

 8   inclusive, is excluded in computing the time within which the trial

 9   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

10   and (h)(7)(B)(iv).

11         3.    Defendant shall appear in Courtroom 7D of the Federal

12   Courthouse, 350 West 1st Street, Los Angeles, California on October

13   11, 2022 at 8:30 A.M.

14         4.    Nothing in this Order shall preclude a finding that other

15   provisions of the Speedy Trial Act dictate that additional time

16   periods are excluded from the period within which trial must

17   commence.       Moreover, the same provisions and/or other provisions of

18   the Speedy Trial Act may in the future authorize the exclusion of

19   additional time periods from the period within which trial must

20   commence.

21         IT IS SO ORDERED.

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23    July 6, 2022
       DATE                                   HONORABLE DALE S. FISCHER
24                                            UNITED STATES DISTRICT JUDGE
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